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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

      Plaintiff,

                 v.                           CRIMINAL NO. 10-232 (FAB)

HECTOR MARTINEZ-MALDONADO [2],

      Defendant.


                              OPINION AND ORDER

BESOSA, District Judge.

     Pending before the Court is the issue of whether declaring a

mistrial with respect to the jury’s findings regarding Count One of

the indictment against defendant Hector Martinez-Maldonado would

result in a double jeopardy violation.              For the reasons stated

below, the Court finds that no double jeopardy violation would

occur; accordingly, Count One is dismissed as to defendant Martinez

without prejudice.

I.   Procedural History

     On March 7, 2011, the jury entered a verdict finding defendant

Martinez guilty of conspiracy and federal program bribery. (Docket

No. 438.)     While the jury found defendant Martinez guilty of

conspiracy, the jury checked “no” to all three possible objects of

the conspiracy.       Id.      The   Court    initially    granted     defendant
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Martinez’s motion to dismiss Count One.            The government requested

time to research the issue and brief the Court.              On March 8, 2011,

the Court reinstated defendant Martinez’s conviction as to Count

One of the indictment.          (Docket No. 440.)

       The Court then ordered the parties to brief the issue of

whether defendant Martinez’s conviction as to Count One could

stand, despite its apparent inconsistency. Id. On March 11, 2011,

defendant Martinez filed a motion for the Court to dismiss Count

One.    (Docket No. 447.)       On March 14, 2011, the government filed a

“non-opposition” to defendant Martinez’s motion to dismiss Count

One. (Docket No. 451.) The following day, however, the government

filed a supplemental response asking the Court to grant a mistrial

on Count One and a dismissal without prejudice, but not to grant a

Rule 29 motion for judgment of acquittal.              (Docket No. 453.)         On

March     15,   2011,   defendant     Martinez    filed     a     reply   to     the

government’s      supplemental     response.      (Docket        No.   455.)      On

March 16, 2011, the Court directed the government to brief the

Court on the issue of whether defendant Martinez’s conviction for

Count One should be reinstated or dismissed. (Docket No. 459.) On

March 22, 2011, the government filed its second supplemental

response, alleging that the proper remedy in this situation is a

new trial, not a dismissal with prejudice.             (Docket No. 466.)
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      On March 24, 2011, the parties were ordered to brief the Court

regarding whether declaration of a mistrial in this case would

result in a double jeopardy violation. (Docket No. 467.) Defendant

Martinez and the government filed motions complying with the

Court’s order.      (Docket Nos. 473 & 481.)

II.   Discussion

      Defendant Martinez asserts that double jeopardy precludes

declaring a mistrial as to Count One, and thus an acquittal is

required as to this count.        The government, in contrast, maintains

that while Count One must be dismissed, the proper remedy here is

a dismissal without prejudice and a new trial, not a dismissal with

prejudice     or   an   acquittal.      Defendant     Martinez      raises      three

distinct arguments in support of his request for his acquittal on

Count One.     The Court addresses each argument in turn.

      A.     The Jury’s Verdict Requires an Acquittal

             In order to assess the merits of the parties’ arguments

regarding     the meaning      of the   jury’s     verdict,       the   Court     must

delineate the circumstances under which the jury’s conviction was

made.      The jury verdict form incorporated specific interrogatory

questions in addition to general findings of guilt or innocence.

(Docket No. 438.)       As to Count One, conspiracy, the jury was asked

to “unanimously find” defendant Martinez “guilty” or “not guilty”.
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Id.   The jury checked “guilty”.          Id.    Next, the verdict form asked

the jury to determine “[w]hich one or more of these was the object

of the conspiracy (check all that you unanimously find to apply)”.

Id.    Under each of the objects of conspiracy were spaces for the

jury to check “yes” or “no”.        Id.    In response to the three objects

listed, the jury checked “no”.         Id.      The Court notes that the “yes”

or “no” responses do not logically follow from the question asked.

Confusion    exists    regarding    what     the    “no”    response      indicates.

Defendant Martinez requests the Court to infer that by checking

“no”, “the jury was unanimously making a finding of rejection” of

the objects of the conspiracy.               (Docket No. 473 at 4.)                  The

government, however, maintains that by checking “no”, the jury

“failed to unanimously find [sic] an object, which is not the same

as    unanimously     finding   that   there       were    no       objects   of     the

conspiracy.”     (Docket No. 481 at 2.)

            The verdict form is unambiguously clear that the jury

unanimously found defendant Martinez guilty of Count One, the

conspiracy count.        (Docket No. 438 at 2.)               In order for that

conviction to stand, it is imperative that the jury unanimously

find defendant Martinez guilty of at least one of the three objects

of the conspiracy listed on the verdict form. The specific wording

of the language used on the verdict form is inherently confusing;
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the jury’s answer of “no” to whether it “unanimously” found an

object of the conspiracy to exist           could mean one of two things:

either (1) the jury unanimously found none of the objects to exist,

or (2) some jurors found some of the objects to exist and some

jurors did not.

              Defendant Martinez insists that the case presented before

the   Court    is   similar    to   the   situation   in   United    States    v.

Lucarelli, 490 F. Supp. 2d 295 (D.Conn. 2007), where the court held

that a judgment of acquittal, rather than a new trial, was the

proper remedy.      In Lucarelli, the jury unequivocally found, in its

response to a special interrogatory, that the defendant lacked

specific intent, an essential element of the crimes with which

defendant was charged.          Id. at 296.      In granting a remedy of

acquittal, the Lucarelli court differentiated the situation before

it from other cases (where the remedy granted was a new trial) that

“concerned circumstances where either the jury’s finding on an

essential element of the crime charged was in doubt/not reached

unanimously or the jury rendered a truly inconsistent verdict where

it was properly instructed on the essential elements of the crime,

convicted the defendant of that crime, but answered a special

interrogatory concerning an essential element of that crime in the

negative.”      Id. at 297.
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             The government asserts that this case is unlike Lucarelli

but   more    in   line       with   the   cases    differentiated       from      it,

specifically, United States v. Mitchell, 476 F.3d 539 (8th Cir.

2007). In Mitchell, the jury was asked to find unanimously whether

the defendant had made false representations in a bankruptcy

petition in violation of 18 U.S.C. § 152(3).                  Id. at 542.       Then,

the jury was asked “if it unanimously found . . . that one or more

of the false declarations . . . were ‘material’” . . . .”                   Id.     In

response to this second question, “[t]he jury was simply asked to

check ‘yes’ or ‘no’ in response.”                  Id.      The jury found the

defendant    guilty      of    making   false   representations,        but     “[i]n

response to the materiality interrogatory, the jury checked the

‘no’ box, annotating that it could not make a unanimous finding

beyond a reasonable doubt that one or more of the false statements

was material.”     Id.    The district court granted a Rule 33 motion as

to the defendant’s conviction for submitting a false declaration,

holding that section 152(3) required a showing of materiality

beyond a reasonable doubt, and denied defendant’s later motion to

dismiss the section 152(3) charge on double jeopardy grounds.                      Id.

at 543.    The Eighth Circuit Court of Appeals affirmed the district

court’s decision, holding that double jeopardy did not preclude

future litigation of the materiality issue because the defendant
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was neither acquitted of the crime (the jury convicted defendant of

making false declarations), nor did the jury make “a unanimous

factual     finding       with   respect      to   the     materiality       of     the

misstatements.” Id. at 545. The court interpreted the jury’s mark

of   “no”   to     an    instruction     “unanimously      [to]     find   beyond     a

reasonable doubt that one or more of the false declarations . . .

[was] material” as indicating one of two things:                    “either (1) the

jury unanimously found the statements immaterial or (2) some jurors

found the statements material and some jurors found the statements

immaterial.”       Id. at 542-5.

            In the case before this Court, the jury, like the jury in

Mitchell, checked “no” to an instruction to “check all [the objects

of the conspiracy] that you unanimously find to apply”.                      (Docket

No. 438 at 2-3.)         Defendant Martinez urges the Court to hold that

the jury’s finding indicates that “the jury clearly and unanimously

rejected the objects of the conspiracy” (Docket No. 473 at 3); as

explained     in        Mitchell,     however,     there    are      two    possible

interpretations of the jury’s finding, and “[t]he language of the

interrogatory itself is not susceptible to discerning just what,

specifically, the jury found;” we know only that the jury was

unable to agree unanimously as to any of the objects of the

conspiracy.      476 F.3d at 545.        The Court would be speculating about
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the jury’s conclusion on the essential element of the object of the

conspiracy if it determined that the jury unanimously failed to

find an object.     In light of this ambiguous finding by the jury as

to the object of the conspiracy, the proper remedy is a new trial

under Rule 33, not a judgment of acquittal.

II.   The Court’s Initial Dismissal Does Not Preclude a Mistrial

      Defendant Martinez asserts that double jeopardy would preclude

declaring a mistrial because the Court initially dismissed Count

One, and then reinstated it.         (Docket No. 473 at 7.)            Defendant

claims that an acquittal ordered by a Court under Rule 29 “is a

final decision and jeopardy attaches to it, such that it can never

be relitigated.”      Id. at 8.     While defendant Martinez accurately

states the law, he misapplies it to the facts of this case.                 After

the jury verdict was read in this case, counsel for defendant

requested the Court to “strike” the guilty verdict on Count One

because it was “a legal impossibility as to Defendant Martinez.”

(Docket No. 444 at 50.)        The Court agreed with defense counsel and

dismissed Count One as to defendant Martinez.                  Id. at 56.       The

following day, however, the Court issued an order reinstating

defendant Martinez’s conviction as to Count One and directing the

parties to     submit   briefs    regarding   the   issue of       whether      the
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conviction could stand despite the apparent inconsistency in the

jury’s verdict.    (Docket No. 440.)

     Defendant Martinez’s double jeopardy argument is based on a

misinformed presumption that the Court’s initial dismissal was

based on Rule 29.    If the Court had entered an order finding that

“the evidence [was] insufficient to sustain a conviction” under

Rule 29, it would constitute a “court-decreed acquittal” and

“preclude[] reexamination of guilt” under the Double Jeopardy

Clause of the Fifth Amendment.       Smith v. Massachusetts, 543 U.S.

462, 467 (2005).    In this case, however, the Court made no such

finding; thus, Rule 29 was not implicated. Here, the jury returned

a verdict of guilt for defendant Martinez as to Count One, and the

Court “dismissed” that verdict based on defense counsel’s claim of

“legal impossibility.”       (Docket No. 444 at 50-56.)           The Court

neither engaged in a Rule 29 analysis regarding the sufficiency of

the evidence presented, nor did it enter a judgment of acquittal

for defendant Martinez as to Count One.           Moreover, even if the

Court had “set[] aside [the jury’s guilty verdict] and enter[ed] a

judgment of acquittal, the Double Jeopardy Clause does not preclude

a prosecution appeal to reinstate the jury verdict of guilty.”

Smith, 543 U.S. at 467.         Because defendant Martinez was not

acquitted of Count One by either the jury or the Court, double
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jeopardy is not implicated and does not preclude declaring a

mistrial.   Id., see also United States v. Arache, 946 F.2d 129, 139

(1st Cir. 1991) (rejecting appellant’s claim of double jeopardy

where the trial judge’s decision to order a new trial was not based

on an acquittal or “a finding that the evidence was legally

insufficient to support [appellant’s] conviction.”); Mitchell, 476

F.3d at 544-45 (affirming district court’s denial of defendant’s

motion to dismiss indictment on double jeopardy grounds where

defendant was unable to prove that he was acquitted or that the

jury made a factual finding that would be fatal to the government’s

case.)

III. Defendant’s Objection Does Not Preclude a Mistrial

     Lastly, defendant Martinez argues that his objection to a

mistrial precludes the Court’s declaration of a mistrial.               (Docket

No. 473 at 9.)    In support of this proposition, defendant Martinez

cites to United States v. Lara-Ramirez, which states that in light

of defendant’s opposition to a mistrial, “the permissibility of a

new trial depends upon the ‘manifest necessity’ for the mistrial

declaration.”    519 F.3d 76, 82 (1st Cir. 2008).         The determination

of whether “manifest necessity” requires a new trial is based on a

“consideration    of   three   interrelated     factors:        ‘(i)    whether

alternatives     to    a   mistrial   were    explored        and   exhausted;
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(ii)    whether    counsel   had   an    opportunity    to     be   heard;     and

(iii) whether the judge’s decision was made after sufficient

reflection.’”      Lara-Ramirez, 519 F.3d at 85 (quoting United States

v. Toribio-Lugo, 376 F.3d 33, 39 (1st Cir. 2004)).

       The cases on which defendant Martinez relies in support of his

claim that there is no manifest necessity requiring a mistrial are

inapposite.       In Lara-Ramirez, the First Circuit Court of Appeals

found that the district court had abused its discretion in ordering

a mistrial and denying defendant’s motion to dismiss the indictment

on the basis of double jeopardy.         The facts of that case, however,

differ wildly from the facts before the Court.            The district court

in Lara-Ramirez had declared a mistrial before the jury had issued

a verdict - specifically, the jury reported that it was deadlocked;

the district court discovered the presence of a Bible in the jury

room; and the court found that the Bible “incurably tainted” the

position of the jurors and deemed it “useless” to urge jurors to

reexamine their positions and attempt to reach a unanimous verdict.

519 F.3d at 85 (finding that “the premise of the [district] court’s

refusal to consider an Allen charge further-the ineradicable taint

of the Bible-was seriously flawed.”) In essence, the First Circuit

Court of    Appeals    found that       the district    court’s     failure    to

investigate the claims of alleged juror taint fully and “explore
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and    exhaust    the   alternatives      to   a   mistrial”    constituted     a

“premature declaration of a mistrial.”             Id. at 89.

       Defendant Martinez also cites to United States v. Razmilovic

as further support for his claim that a mistrial is improper in

this case.       507 F.3d 130 (2nd Cir. 2007).            In Razmilovic, the

Second Circuit Court of Appeals found that the jury was not

“genuinely deadlocked when the trial court declared a mistrial”

where the only piece of evidence supporting the trial judge’s

conclusion of deadlock was a note from the jury saying that it was

“at a deadlock” and had “exhausted all its options.”                Id. at 139.

Like Lara-Ramirez, Razmilovic is a case in which the district court

declared a mistrial prior to a verdict being reached by the jury,

and the court of appeals found that the trial court failed to

pursue any alternatives, including giving jury instructions or

polling the jurors, before declaring “a mistrial due to a genuinely

deadlocked jury.”       Id. at 139-140.

       In this case, however, unlike the situation in either Lara-

Ramirez or Razmilovic, manifest necessity requires declaring a

mistrial due to the undisputed logical inconsistency of the jury’s

verdict.       The   jury’s    decision   in   finding    defendant    Martinez

“guilty” of conspiracy while failing to find an object of the

conspiracy unanimously presents the Court with a unique situation
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in which a new trial as to Count One is the appropriate remedy.

Defendant’s request for an acquittal is not a viable option where

the    jury   has   clearly    and    unanimously        convicted       him   of     the

conspiracy charge.        See Mitchell, 476 F.3d at 544 (finding that

there was no acquittal where the jury convicted the defendant of

the crime charged.)

       Defendant claims that the Court should have asked “the jury to

resume    its   deliberations        and   clarify    its      verdict”,       but    the

defendant makes no reference to any time where the defendant or the

government requested this remedy.             See Docket No. 473 at 10.                In

fact,    in   response   to    a   jury    note   sent    to    the    Court    during

deliberations requesting “clarification of conspiracy”, the record

indicates that counsel for defendant Martinez was adamant that “all

[the Court] can do is either refer them to or read the conspiracy

instruction.”       Docket No. 443 at 25-28. The opportunity to ask the

jury to deliberate further on their inconsistent verdict has

clearly passed. Therefore, the only viable option for the Court is

to declare a mistrial as to Count One in order to respect the

jury’s finding of a guilty verdict as to the conspiracy charge and

observe defendant Martinez’s right to be proven guilty of all

elements of the crime charged in light of the jury’s failure to
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make   a   unanimous   factual   finding   as   to   the    object   of     the

conspiracy.

       IT IS SO ORDERED.

       San Juan, Puerto Rico, August 30, 2011.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       United States District Judge
